Case 3:21-cv-00259-DCG-JES-JVB              Document 1002         Filed 05/19/25     Page 1 of 3




                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION

LEAGUE OF UNITED LATIN                          §
AMERICAN CITIZENS, et al.,                      §
                                                §
               Plaintiffs,                      §
                                                §
EDDIE BERNICE JOHNSON, et al.,                  §        EP-21-CV-00259-DCG-JES-JVB
                                                                 [Lead Case]
                                                §
               Plaintiff-Intervenors,           §
                                                                          &
v.                                              §
                                                §             All Consolidated Cases
GREG ABBOTT, in his official capacity as        §
Governor of the State of Texas, et al.,         §
                                                §
               Defendants.                      §

       ORDER RULING ON MOTION TO PRESENT LIVE TESTIMONY VIA
     VIDEOCONFERENCE AND NOTICE REGARDING WITNESS TESTIMONY

       Before the Court is the “LULAC Plaintiffs’ Partially Opposed Motion for Leave to

Present Live Testimony via Videoconference at Trial” (ECF No. 1001).

       Insofar as the Motion seeks permission for Ms. JoAnn Acevedo James to testify

remotely on Saturday, May 24, 2025, the Court DENIES the Motion IN PART WITHOUT

PREJUDICE. Given the nature of Ms. Acevedo James’s conflict—as well as the fact that

Defendants don’t oppose Ms. Acevedo James testifying remotely—the Court will permit her to

do so. However, the Court’s IT staff will only be on-call (rather than on-site) for the Saturday

trial settings. Because the Court frequently encounters technological issues when witnesses

testify remotely, the Court is uncomfortable taking remote testimony during any of the Saturday

sessions. The LULAC Plaintiffs MAY RENEW their motion to have Ms. Acevedo James

testify remotely during one of the weekday sessions.




                                               -1-
Case 3:21-cv-00259-DCG-JES-JVB                Document 1002         Filed 05/19/25      Page 2 of 3




       Insofar as the Motion seeks permission for Mr. Domingo Garcia to testify remotely on

Wednesday, May 21, 2025, the Court DENIES the Motion IN PART WITH PREJUDICE.

Mr. Garcia’s scheduling conflicts appear to be date-specific, and the LULAC Plaintiffs have

identified no specific reason why Mr. Garcia must testify on May 21st (as opposed to any of the

other numerous trial dates scheduled in this case). The Court strongly prefers to have Mr. Garcia

testify in person because:

       (1)       Defendants oppose the LULAC Plaintiffs’ request to have Mr. Garcia
                 testify remotely, presumably because that will make cross-examination
                 more difficult;

       (2)       due to technological limitations, the Court frequently has difficulty hearing
                 and observing the demeanor of witnesses who testify remotely;

       (3)       in the Court’s experience, connectivity issues frequently interfere with
                 remote testimony; and

       (4)       given the anticipated subjects of Mr. Garcia’s testimony, his testimony will
                 likely be particularly important.

The Court will therefore require Mr. Garcia to testify IN PERSON on a different date.

       The Court has also received and reviewed the “Notice of Plaintiffs’ First Week Witness

List” (ECF No. 1000). The Court notifies the parties that it expects each side to be ready to

present its next witness at the end of each witness’s testimony. As a matter of fairness and

efficiency, each session (except for the two shortened Saturday sessions)1 will last a full day. If

either side has no further witnesses before trial is scheduled to conclude for the day, that side will

be deemed to have rested. The Court will be flexible as circumstances require, but the attorneys

for each side are expected to anticipate and avoid unnecessary breaks in the compressed trial—

even if that involves longer travel schedules and waiting times for some witnesses. Thus, given



       1
           See Order Modifying Trial Schedule, ECF No. 971.


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Case 3:21-cv-00259-DCG-JES-JVB               Document 1002        Filed 05/19/25    Page 3 of 3




the Court’s denial of the LULAC Plaintiffs’ Motion above, Plaintiffs will likely need to

designate other witnesses to fill the resulting space.

       So ORDERED and SIGNED this 19th day of May 2025.




                                                   ____________________________________
                                                   DAVID C. GUADERRAMA
                                                   SENIOR U.S. DISTRICT JUDGE

                                          And on behalf of:

 Jerry E. Smith                                               Jeffrey V. Brown
 United States Circuit Judge                     -and-        United States District Judge
 U.S. Court of Appeals, Fifth Circuit                         Southern District of Texas




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